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                         UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                     OFFICE OF THE CLERK

    David A. O’Toole                                                              211 West Ferguson
     Clerk of Clerk                                                                Tyler, TX 75702



                                          October 20, 2021

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                               In re: Marshall Feature Recognition, LLC v. Alcoa Inc.
                                       2:15-cv-1424

 Dear Counsel and Parties,
       I have been contacted by Judge Rodney Gilstrap who presided over the above-
 mentioned case.

          Judge Gilstrap informed me that it has been brought to his attention that while he
 presided over the case, he owned stock in Alcoa Inc. His ownership of stock neither affected nor
 impacted his decisions in this case. In fact, this case was dismissed by Magistrate Judge Payne
 prior to any action being taken by Judge Gilstrap. However, his stock ownership would have
 required recusal under the Code of Conduct for United States Judges, and thus, Judge Gilstrap
 has directed that I notify the parties of the conflict.

        Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
 provides the following guidance for addressing disqualification that is not discovered until after
 a judge has participated in a case:
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 [A] judge should disclose to the parties the facts bearing on disqualification as
 soon as those facts are learned, even though that may occur after entry of the
 decision. The parties may then determine what relief they may seek and a
 court (without the disqualified judge) will decide the legal consequence, if any,
 arising from the participation of the disqualified judge in the entered decision.

        Although Advisory Opinion 71 contemplated disqualification after a Court of
 Appeals oral argument, the Committee explained “[s]imilar considerations would apply when
 a judgment was entered in a district court by a judge and it is later learned that the judge was
 disqualified.”

        With Advisory Opinion 71 in mind, you are invited to respond to Judge Gilstrap’s
 disclosure of a conflict in this case. Should you wish to respond, please submit your response
 on or before thirty (30) days from this date. Any response will be considered by another judge
 of this court without the participation of Judge Gilstrap.



                                       Sincerely,

                                       _______________________________________
                                       David A. O’Toole
                                       Clerk of Court
